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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

__________________________________________
                                          )
YAACOV APELBAUM,                          )
                                          )                   Civil Action No.:
-and-                                     )
                                          )
XRVISION, LTD.,                           )
                                          )                   JURY TRIAL DEMANDED
      Plaintiffs,                         )
                                          )
v.                                        )
                                          )
JORDAN ARTHUR BLOOM,                      )
                                          )
      Defendant.                          )
__________________________________________)


                                           COMPLAINT

       The plaintiffs, Yaacov Apelbaum (“Apelbaum”) and XRVision, Ltd. (“XRV”) (together,

“Plaintiffs”), by counsel, state the following as their complaint against the defendant, Jordan Arthur

Bloom (“Bloom” or “Defendant”), and allege upon knowledge and belief as follows:

                                         INTRODUCTION

       Apelbaum is a cybersecurity and image and analytics technology expert who owns XRV, a

company specializing in cutting-edge AI-based analytics and award-winning intelligent cyber

security IoT technology. Plaintiffs periodically works with the government in matters related to their

profession and technological capabilities. On January 29, 2024, Bloom, a journalist, published an

article on his blog in which he accused Plaintiffs of being Israeli spies working against American

interests, working to manipulate and/or harm former President Biden and his family, engaging in

human trafficking, using the tradecraft of espionage to infiltrate and manipulate conservative political

groups and media outlets to influence the American public, and engaging in industrial espionage and
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theft to procure American technology to give both Plaintiffs as well as their purported masters (the

Israeli government) trade and national security benefits as opposed to the U.S. government and U.S.

businesses. Bloom’s statements are ridiculous, baseless, provably false, defamatory, concern the

Plaintiffs, and have caused considerable harm to Plaintiffs: unsurprisingly, the U.S. Government (not

to mention most U.S. businesses) does not like working with accused spies or their companies. Bloom

conducted zero research or investigation into his accusations, and he made no effort to contact

Plaintiffs to ask them for their position in the face of such serious, and yet absurd, allegations. Bloom

made his statements either with knowledge of their falsity or with a reckless disregard as to their truth

or falsity.

        Bloom’s writings betray an obsession and serious dislike for both Jews and Israel. Bloom has

a history of writing anti-Semitic articles that accuse Jews and Israel of manipulating and/or

controlling the U.S. government and its trade and economy. Thus, though he is an American citizen,

Apelbaum’s status as a devout Jew automatically renders him suspect to Bloom. In writing his

defamatory statements about Plaintiffs, Bloom merely relied on tropes and his own pre-existing

bigotry and biases, devoid of facts, and he knowingly sought to harm, and did harm, Plaintiffs. This

suit is Plaintiffs’ effort to restore their reputations as loyal subjects of the United States of America

and industry leaders, and to be made whole.

                                    JURISDICTION AND VENUE

        1.      Plaintiffs incorporate by reference all allegations contained in each preceding

Paragraph as though fully restated and set-forth, herein.

        2.      This action arises under Virginia law because Defendant is a Virginia resident, and

because Defendant’s statements were published in Virginia, to Virginia residents, and caused ultimate

injury to the Plaintiffs in Virginia.



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       3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) because Defendant

Bloom resides in Arlington, Virginia, and because the statements at issue were made in Virginia.

       4.      This Court has subject matter jurisdiction pursuant to Article III of the United States

Constitution and 28 U.S.C. § 1332. The amount in controversy exceeds $75,000, exclusive of interest

and costs, and there is diversity of citizenship.

       5.      This Court has personal jurisdiction over Defendant under law and the Due Process

Clause of the United States Constitution. The claims in this Complaint arise from Defendant’s tortious

conduct which caused injury in Virginia, and Defendant’s substantial business and other activity in

Virginia. Exercising jurisdiction over the Defendants would not offend traditional notions of fair play

and substantial justice because the Defendant deliberately targeted Plaintiffs by making false and

defamatory statements about them. The injury resulting from Defendant’s tortious conduct occurred

primarily within Virginia.

       6.      Defendant injured Plaintiffs in the Commonwealth of Virginia by his conduct inside

the Commonwealth. Defendant is aware that Plaintiffs have and continue to conduct business with

the U.S. Government and Defendant’s publication was designed to target and incite a Virginia

audience.

       7.      Defendant’s statements, published to persons in Virginia, ultimately resulted in injury

to Plaintiffs in Virginia. Defendant’s false and defamatory statements were directed at, received, and

read by individuals and businesses in Virginia. As a result, Plaintiffs have experienced irreversible

personal and professional damage in Virginia, including reputational harm, the loss of business

opportunities in Virginia, irreparable damage to Plaintiffs’ professional ambitions and business

interests, as well as the loss of friendships with individuals in Virginia.




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        8.      Upon information and belief, Defendant regularly does and/or solicits significant

business in Virginia, engages in other persistent courses of conduct, or derives substantial revenue

from goods sold to, goods used or consumed, or services rendered in Virginia, such that he has

purposefully availed himself of its laws.

        9.      Defendant generates substantial revenue from the Commonwealth of Virginia as a

result of his work and content-driven business model.

        10.     Therefore, Defendant should have foreseen that he would be forced to answer for his

tortious conduct, and the resulting injuries to Plaintiffs, in a Virginia court.

                                                PARTIES

        11.     Apelbaum is an expert in artificial intelligence and facial recognition software and its

uses in the security context. He is the President and Chief Technology Officer of Plaintiff XRVision

Ltd. Apelbaum is a resident and citizen of the State of New York.

        12.     XRV is a New York corporation specializing in facial recognition software used in

security contracting. At all times relevant hereto, XRV’s principal place of business is located in the

State of New York.

        13.     Bloom is a blogger and journalist. Bloom is a resident of Arlington, Virginia, and is a

citizen of Virginia.

                                     FACTUAL ALLEGATIONS

        14.     Plaintiffs incorporate by reference all allegations contained in each preceding

Paragraph as though fully restated and set-forth, herein.

        15.     Apelbaum founded XVR in 2015. XRV is a security firm, specializing in cutting-edge

mobile and wearable AI-based analytics and award winning intelligent cyber security and IoT

technology.    It solves some of the toughest analytics and cyber security challenges that law

enforcement and government agencies face.
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       16.      Before co-founding XRV, Apelbaum was the Head of Engineering and CTO for the

Safe/Smart City product line in one of the world’s leading safe/smart city companies, offering

comprehensive and integrated platforms in a wide range of analytics, homeland security, critical

infrastructure, OSINT, and smart/safe city spaces. Apelbaum’s technology expertise includes leading

R&D and Center of Excellence technology teams in developing and delivering, Big Data, video

analytics, OSINT engines, IoT, and cyber security solutions for urban surveillance and management,

critical infrastructure, border protection, and national security.

       17.      Apelbaum also maintains a blog and publishes articles on numerous topics, including

but not limited to news analysis, politics, and current events. 1 Prior to Defendants’ defamatory

statements, Plaintiffs’ readers and clients recognized Plaintiffs as sources of accuracy, technological

excellence, legitimacy, integrity, honesty, competence, and reliability.

       18.      As a cybersecurity and cyber forensics expert, Plaintiffs have gained some renown for

their work in examining the propriety of electronic elections/voting systems as well as the provenance

and authentication of electronic materials, including but not limited to the Hunter Biden Laptop

(“Biden Laptop”).

       19.      The Biden Laptop became a cause célèbre in the lead-up to the 2020 Presidential

Election. Shortly before the election, a computer repair shop owner by the name of John Paul Mac

Isaac came to the media to announce that Hunter Biden had dropped off his Laptop for repair at Mac

Isaac’s shop in Delaware, only to ultimately abandon the Laptop. When he could not get Biden to

claim his repaired Laptop, Mac Isaac claimed it as his own and reviewed the content. According to

Mr. Mac Isaac, the Biden Laptop purportedly contained hundreds of gigabytes of communications,




       1
           See https://www.yaacovapelbaum.com/.
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audio recordings, pictures, and video recordings, showcasing Hunter Biden engaged in inappropriate

and illegal acts and behavior.

          20.      Early in 2020, Mac Isaac contacted the FBI after discovering the Biden Laptop

contained the purported evidence of misconduct by Hunter Biden and others. The FBI took the

Laptop, but did not pursue any criminal investigation of Hunter Biden, until public uproar and

investigations by other federal agencies made avoiding prosecution politically impossible. Hunter

Biden was later pardoned by President Biden.

          21.      Mac Isaac gave a copy of the Biden Laptop’s hard drive to Plaintiffs, and Plaintiffs

then analyzed the contents to determine the legitimacy of the Laptop. Plaintiffs opined that the Laptop

was, in fact, authentic.

          22.      Defendant Bloom maintains a blog on the Substack2 blogging platform, entitled

“Arthuriana,” and accessible at https://arthuriana.substack.com/ (“Substack”).

          23.      Bloom, also known as J. Arthur Bloom or Arthur Bloom, has written and/or edited for

a number of other blogging/media outlets, including but not limited to The Washington Post, The

Guardian, Newsweek, The New York Post, American Affairs, UnHerd, The Daily Caller, Quillette,

The American Conservative, Modern Age, The Catholic Herald, and The American Spectator, among

others.

          24.      On January 29, 2024, Bloom authored an article on his Substack, entitled “The Role

of Yaacov Apelbaum in the Hunter Biden Drama” (“First Article”).3 See Exhibit 1 – First Article,

attached and incorporated as though fully set forth and restated herein.




          2
              https://www.substack.com

        See https://arthuriana.substack.com/p/the-role-of-yaacov-apelbaum-in-
          3

the?utm_source=publication-search

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       25.      In his First Article, Bloom made multiple, factually false and defamatory statements,

including, but not limited to:

             a. “Yaacov Apelbaum is an Israeli spy, and the sort of Israeli spy who would have good

                reasons to smear American facial recognition technology, because his company,

                XRVision, is a competitor. The Israelis do not want American-born technology used

                by, for instance, CBP,4 because they want to sell it to us instead, and they also have a

                hand in some of the human trafficking rackets. In some cases, this wicked nation will

                steal the technology and sell it back to us. What this means is that politicians’

                unwillingness to forthrightly address the problems in the U.S.-Israel relationship is a

                clear threat to the American defense-industrial base.”

             b. “Apelbaum appears to have had contact with Garrett Ziegler, Ron Johnson, Matt

                Gaetz, and James O’Keefe, and appears to have had a fairly close relationship with the

                Gateway Pundit. XRVision has provided sourcing to a bunch of conservative

                publications, including the Washington Times. So this is an Israeli spy who’s deeply

                involved in shaping the Hunter Biden story.”

             c. “What the case of Apelbaum actually represents is how badly the conservative

                movement has been penetrated by Israeli intelligence, at the level of human

                intelligence and technology contracting.”

             d. “I should think the Roman perspective on this would be that a president who fails to

                go after the people who went after his son is weak. President Biden was angrily

                quoting the ‘suckers and losers’ story, which comes from the poorly sourced Atlantic

                reporting of dual citizen Israeli prison guard Jeffrey Goldberg. It is a sad thing to


       4
           U.S. Customs and Border Patrol.

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                   watch an old man and American president be run around like this by dual

                   loyalists and spies.”5

          26.      All of Bloom’s statements about Plaintiffs (“defamatory statements”) are false.

          27.      While Mr. Apelbaum emigrated from Israel in the 1980’s, he subsequently renounced

his Israeli citizenship and is presently a citizen of the United States of America, only.

          28.      It goes without saying that U.S. federal agencies – and in particular law enforcement

agencies – do not want to work with individuals and entities actively engaging in espionage against

the United States Government as well as businesses, individuals and entities engaging in corporate

espionage, theft, and human trafficking. Yet, this is precisely what Bloom’s defamatory statements

allege.

          29.      Bloom’s statements are defamatory per se, because they accuse Plaintiffs of being

Israeli spies engaging not only in espionage against the United States, but also in corporate espionage

and sabotage, for the purposes of damaging American defense and security interests as well as its

domestic defense and security industry.

          30.      Bloom’s statements are also defamatory per se, because they implicitly or directly state

that Plaintiffs are engaging in or assisting in human trafficking, theft of trade secrets, fraud, and

engaging in espionage and sabotage of Plaintiffs’ business partners, friends, and allies within the

media, not to mention deliberately misleading the general public.

          31.      Bloom’s statements are also defamatory per se because they implicitly or directly state

that the Hunter Biden Laptop story, insofar as Apelbaum and XRV are involved, is a fraud, that

Plaintiffs’ authentication of the Laptop was fraudulent, and that Plaintiffs’ efforts in this respect have

been consistent with Plaintiffs’ role as a dual-citizen, dual-loyalist, spying for a foreign government,




          5
              For each of these quotes containing emphasis, the emphasis has been added.
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acting as a State adversary against U.S. national interests, and engaging in an espionage operation to

harm and embarrass former President Biden and his family to the benefit of Israeli geopolitical

interests.

        32.     The defamatory statements are defamatory per se because they impute to Plaintiffs the

commission of criminal offenses for which the Plaintiffs, were the statements true, could be indicted

and punished.

        33.     For just one example, if Plaintiff Apelbaum were truly operating as an agent for the

Israeli government, he could be prosecuted for failing to register as such with the U.S. Attorney

General, in violation of the Foreign Agents Registration Act (“FARA”). Mr. Apelbaum is not a foreign

agent, and he has not had need to register with the Attorney General’s office.

        34.     The defamatory statements are defamatory per se because they impute to the Plaintiffs

that they are untrustworthy criminals, engaging in espionage against the United States government

and private businesses in the United States, and unsuitable business partners for governmental

entities, as well as private concerns. As such, the defamatory statements prejudice Plaintiffs in their

profession and business operations.

        35.     Bloom’s statements have directly harmed Plaintiffs because business partners and

prospective business partners within U.S. federal and state governments as well as U.S. private

businesses, have lost trust in Plaintiffs. This has led and continues to lead to direct personal and

business losses.

        36.     Before publishing his First Article, Bloom deliberately avoided conducting any

investigation into Plaintiffs and made zero effort to contact Plaintiffs to seek out their knowledge or

position to include in his article.

        37.     Bloom knew his allegations were ridiculous before, during, and after publication, and

had no evidence to support his false and defamatory statements.
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        38.     In November of 2024, Plaintiffs, through their attorney, sent Bloom a cease-and-desist

 letter (“Letter”), confronting him about his defamatory statements, demanding that they be retracted,

 and further demanding an apology.

        39.     On or about November 23, 2024, Bloom responded to the Letter (“Response”). Far

 from issuing a retraction, Bloom doubled and tripled down.

        40.     On November 23, 2024, Bloom published an article on his Substack (“Second

 Article”) about the Letter and Response, publishing both, and discussing and hyperlinking to the First

 Article, thereby republishing the First Article anew. See Exhibit 2 – Second Article, attached and

 incorporated as though fully set forth and restated herein.

                                        CAUSES OF ACTION

                                         Count I: Defamation

        41.     Plaintiffs incorporate by reference all allegations contained in each preceding

 Paragraph as though fully restated and set-forth, herein.

        42.     Defendant’s statements described above (collectively, the “defamatory statements”)

 are false and defamatory.

        43.     Defendant published to thousands of viewers on Twitter, his Substack, and other

 platforms directed at and received by Virginia audiences, false statements as discussed throughout

 this Complaint. Upon information and belief, Defendant’s defamatory statements were subsequently

 and virally shared and republished on other websites.

        44.     Defendant’s false and defamatory statements were intended as assertions of fact and/or

 are defamatory by implication, as the Defendant, through the plain and natural meaning of his

 statements (and all inferences, implications, and insinuations fairly attributable to them), intended for

 his readers to accept as fact his defamatory assertions against Plaintiffs.



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         45.     Defendant deliberately implied factual assertions about Plaintiffs by pointing out

 purported biographical facts about Apelbaum and XRV (e.g., that Apelbaum is a dual-citizen of the

 United States as well as Israel) alongside purported facts related to Bloom’s theories that the Hunter

 Biden Laptop scandal was orchestrated by the Israeli government, with assistance of Plaintiffs as

 Israeli spies. By alleging these facts in close proximity to one another and against the backdrop of

 Defendant’s previously published anti-Semitic conspiracy theories about Israeli and Jewish

 infiltration/ penetration of the U.S. Government, conservative political groups, conservative media

 outlets, and relative level of ‘control’ of American politics and trade, Defendant deliberately intended

 for any gaps in factual assertions made about Plaintiffs to be easily filled in by the audience and

 understood to be allegations of fact. Indeed, the inferences are so obvious, the dots so easy to connect,

 that the only reasonable interpretation of Defendant’s publications is that they are defamatory

 assertions of fact.

         46.     As detailed above, Defendant’s false and defamatory statements concerned Plaintiffs

 and had Plaintiffs as their primary subject. The Defendant’s defamatory statements were designed to

 (1) injure Plaintiffs’ reputations, (2) subject Plaintiffs to contempt and disgrace, (3) damage Plaintiffs’

 business and business relationships, and (4) incite harassment of Plaintiffs.

         47.     As detailed above, Defendant acted with actual malice. His false and defamatory

 statements about Plaintiffs’ background, business dealings, status, and objectives, were made with

 knowledge of their falsehood or reckless disregard for their truth or falsity.

         48.     As detailed above, Defendant failed to investigate the facts he alleged about Plaintiffs

 in his various publications and severely departed from journalistic standards despite presenting his

 publications as fact-based journalism. Defendant harbored and continues to harbor ill will toward

 Plaintiffs.



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         49.      Moreover, each of Defendant’s publications and pattern of publishing are evidence

 that he conceived a storyline in advance of any adequate investigation and then consciously set out

 to insert Plaintiffs into his preconceived narratives as discussed throughout the Complaint.

         50.      Together, these facts and circumstances make clear that Defendant subjectively

 entertained serious doubts about the truth of their statements about Plaintiffs, was willfully blind to

 any facts that might have undermined his preconceived narrative, and deliberately published false

 facts and stories about Plaintiffs.

         51.      Defendant’s statements are also defamatory per se because they falsely impute to

 Plaintiff the commission of criminal offenses involving moral turpitude— broadly, in this instance,

 that Plaintiffs, as part of some Israeli espionage program aimed at former President Biden and his

 family, helped steer the narrative in American mainstream and conservative media, and that Plaintiffs

 continue to operate as spies for the Israeli government, and assist the Israeli government in human

 trafficking and industrial espionage, among other false and defamatory allegations. If true, these

 allegations would cause Plaintiffs to be indicted, punished, and even potentially convicted of treason.

 Defendant’s statements also prejudice Plaintiffs in their profession as cybersecurity and facial

 recognition experts, undermining Plaintiffs’ ability to work for public and private entities in the

 United States.

         52.      Defendant’s false and defamatory statements harmed and continue to harm Plaintiffs

 both personally and professionally. Defendant is individually liable to Plaintiffs for the personal and

 professional harm he caused by defaming Plaintiffs, each in an amount greater than $75,000 to be

 determined at trial.




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                                       PRAYER FOR RELIEF

        WHEREFORE, Apelbaum and XRV respectfully request that this Court enter judgment in

 their favor and against Bloom, and respectfully request that this Court grant the following relief:

        a.      An award of presumed and actual damages to compensate Plaintiffs for their

                reputational, emotional, and professional injuries, in an amount to be determined at

                trial;

        b.      An award of punitive damages, in an amount to be determined at trial;

        c.      An award of reasonable attorneys’ fees and costs to the fullest extent permitted by law;

                and

        d.      Such other and further relief as the Court deems just and proper.

        Dated: January 28, 2025.



                                                /s/ Timothy B. Hyland
                                               Timothy B. Hyland
                                               Virginia Bar No. 31163
                                               Counsel for Yaacov Apelbaum and XRVision, Ltd.
                                               HYLAND LAW PLLC
                                               1818 Library Street, Suite 500
                                               Reston, VA 20190-6274
                                               Tel.: (703) 956-3566
                                               Fax: (703) 935-0349
                                               Email: thyland@hylandpllc.com

                                               John C. Burns
                                               Pro Hac Vice to be Filed
                                               Counsel for Yaacov Apelbaum and XRVision, Ltd.
                                               BURNS LAW FIRM
                                               P.O. Box 191250
                                               Saint Louis, MO 63119
                                               Tel.: (314) 329-5040
                                               Email: TBLF@PM.ME




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